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lN THE UNITED sTATEs DijsTRiCT COURT F"ED @"f _%__ fm

FOR THE WESTERN DISTRICT OF TENNESSEE 05 l
ms 20 AH mr 31,

UNITED sTATEs OF AMERlCA §€§§§T..F;.Q D§`£;aouo
W.D. @F ~,~r;.'- F:é-;;PSIS_
vs.
No. 03-20169
LERMEDEYO MALONE,

Defendant.

 

ORDER ON MOTION FOR CONTINUANCE

 

Before this Honorable Court is Defendant’s Motion for Continuance. lt appearing
to this Court that counsel’s Motion is Well taken;
IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that

Det`endant’s request to continue the sentencin date is granted and Will be continued.

   

, 2005.

6 )C`§L.z/\
Ono ble J. Breen
Unite States District Judge

Entered this the l j q\ day cf

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 545 in
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Honorable J. Breen
US DISTRICT COURT

